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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                     SAN JOSE DIVISION

VIKRAM VALAME,                                  )
                                                )
                              Plaintiff,        )
                                                )
v.                                              ) Civil No. 5:23-cv-03018-NC
                                                )
JOSEPH R. BIDEN, et al.,                        )
                                                )
                              Defendants.       )

     PLAINTIFF’S REQUEST FOR LEAVE TO FILE A REPLY TO DEFENDANTS’
          RESPONSE TO PLAINTIFF’S FIRST AMENDED COMPLAINT

       In accordance with this court’s schedule issued on December 13, 2023 (ECF No. 49),

Plaintiff Vikram Valame requests that this Court allow him to file a brief (5 pages maximum)

reply to “Defendants’ Response to Plaintiff’s Amended Complaint” (ECF No. 54). Plaintiff

intends to briefly discuss why his employment related injuries are imminent, why his stigmatic

injury is particularized, and why several factual assertions made by defendants should not be

accepted.

       This the 15th day of January, 2024.

                                                    Respectfully Submitted,

                                                    Vikram Valame
                                                    Vikram Valame
                                                    vik.valame@gmail.com
                                                    Palo Alto, CA 94306
                                                    Tel. (208) 994-3067

                                                    Pro Se Plaintiff
